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From:     Daniel Altschuler <daniel.altschuler@maketheroadny.org>
To:       carson whitelemons@nyu.edu

Hi Carson,

Thanks for taking the time to speak with me today.

As discussed, we're working on Long Island, and have been active in some recent school board elections.

In one such district, Brentwood (one of Long Island's largest districts), the school district's clerk is proposing election
changes. In short, because of safety concerns (some schools don't have a separate entrance for the voting site) and cost
considerations, she is proposing moving the poll sites from the elementary schools (of which there are 9) to the middle
schools (of which there are 4).

We're concerned that the reduction in the number of poll sites could depress voter participation in a minority-majority are,
already plagued by low turnout.

Questions for you and your colleagues:

1) Do you have any recommendations regarding how school districts have effectively dealt with the type of safety concerr
they have, while not reducing voter participation? The principal concern they expressed is that, without a separate entranc
adults could enter the school on an election day and that there's a risk of a Sandy Hook-type situation. (That said, I'm
convinced that the cost is at least an equal motivating factor here.)

2) Do you know of any alternatives to changing / reducing poll sites in this type of case?

3) If not, do you have any suggestions of someone who might know?

Thanks for any information you have,

Daniel


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